             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
                        3:18-cv-00641-MR

ADRIAN D. MURRAY,                         )
                                          )
                        Plaintiff,        )
                                          )     Report of Judicial
v.                                        )     Settlement Conference
                                          )
JAMES R. MOHL,                            )
                                          )
                      Defendant.          )
__________________________________        )

      A judicial settlement conference was conducted with the undersigned on

Tuesday, October 12, 2021.

      The settlement conference was originally scheduled to be conducted in

person. However, on the morning of October 12, 2021, the undersigned’s

chambers were advised that Plaintiff would not be able to attend in person.

      A telephonic status conference was then conducted with counsel for

Defendant, Bettina Roberts, and Plaintiff, who is proceeding pro se. During the

status conference, Plaintiff stated that his transportation from Greensboro,

North Carolina to the courthouse in Asheville, North Carolina had fallen

through, and confirmed that he would not be able to attend the conference in

person on October 12.

      With the parties’ consent, the undersigned proceeded with the

conference as scheduled, with Ms. Roberts appearing in person and Defendant



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James R. Mohl, representatives of the North Carolina Department of Public

Safety, and Plaintiff all participating by telephone.

      The parties reached an impasse.


                                   Signed: October 13, 2021




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